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                  UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                             Plaintiff,

                      v.                       Case No. 4:16-cv- 00253
                                               WTM-GRS

MEDIENT STUDIOS, INC., FONU2,
INC., MANU KUMARAN, JOEL A.
“JAKE” SHAPIRO, and ROGER
MIGUEL,

                             Defendants.



                     JOINT MOTION TO EXTEND STAY

      Plaintiff Securities and Exchange Commission (“SEC” or “Commission”)

and Defendant Joel A. “Jake” Shapiro (“Shapiro”) hereby jointly move the Court

to extend the current stay of these proceedings as to Defendant Shapiro, which is

set to expire on November 16, 2017, for an additional 30 days. The additional time

is necessary to allow SEC counsel to present the settlement to the Commission for

approval.

      As the Court is aware, in September 2017, Shapiro submitted to the SEC a

formal offer of settlement that would resolve all claims against him. The parties
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sought, and the Court granted, a 60-day stay of the proceedings as to Defendant

Shapiro that is set to expire on November 16, 2017. [Dkt. Nos. 36 and 37.] Since

that time, SEC Counsel has been engaged in the Commission’s internal review

process. The purpose of the internal review process is to allow the various offices

and divisions within the SEC to review and comment on staff recommendations

that the Commission take a given action, such as (in this case) accepting a

proposed settlement. 1 As reported in the parties’ initial motion for stay, this

process can take a significant period of time to complete, and it must be done

before the proposed settlement can be presented to the Commission.

      At this time, SEC counsel can represent that, although the settlement has not

yet been presented to the Commission, it is in the process of clearing the final

hurdles and is in line to be considered by the Commission during one of its

regularly scheduled meetings. Counsel anticipates that the settlement should be

considered by the Commission within the next 3-4 weeks. If accepted, the parties

will present the settlement to the Court for approval.

      WHEREFORE, the parties respectfully request that the stay as to Shapiro be

extended for an additional 30 days.


1
      The review in this case includes the Commission’s Office of General
Counsel, the Division of Corporate Finance, the Division of Trading and Markets,
the Office of Chief Counsel to the Division of Enforcement and the Office of the
Director of the Division of Enforcement.

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Dated: November 14, 2017

/s/W. Shawn Murnahan                /s/Adrienne Marie Ward
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                  UNITED STATES DISTRICT COURT
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SECURITIES AND EXCHANGE
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                                                 WTM-GRS

MEDIENT STUDIOS, INC., FONU2,
INC., MANU KUMARAN, JOEL A.
“JAKE” SHAPIRO, and ROGER
MIGUEL,

                              Defendants.



                           CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of this
Court using the CM/ECF system which will send notice of such filing to counsel of
record.



                                                     /s/W. Shawn Murnahan
                                                     W. Shawn Murnahan
                                                     Senior Trial Counsel
